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 5
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 6   DONALD HARNED

 7

 8                        UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            No.   2:14-CR-00043 GEB

12                Plaintiff,              APPLICATION FOR TRANSPORTATION
                                          ORDER; ORDER FOR TRANSPORTATION
13        v.

14   LUDWIG et. al.,                      18 U.S.C. § 4285

15                Defendants.            Date: March 24, 2017
                                         Time: 9:00 a.m.
16                                       Judge: Hon. Garland E. Burrell

17
          Procedural History
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          In an Indictment filed February 20, 2014, defendant, Donald
19
     Loyde Harned, was charged with conspiracy to defraud the United
20   States With False, Fictitious or Fraudulent Claims in violation
21   of 18 U.S.C. § 286 (Count 1) and False Claims Against the United
22   States in violation of 18 U.S.C. 287 (Counts 2-7).          Mr. Harned
23   was arrested and initially appeared in the Western District of
24   Oklahoma on February 26, 2014 pursuant to Federal Rule of

25   Criminal Procedure 5(c)(3). On February 27, 2014, Mr. Harned was

26   ordered released on a $5,000.00 unsecured bond and conditions of

27   release, and to report for further proceedings in the Eastern

28   District of California, Sacramento for further proceedings.
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 1         Mr. Harned made an initial appearance in Sacramento on

 2   March 17, 2014, where he entered a not guilty plea to the pending

 3   charges and the Court ordered his continued release on the

 4   conditions of release imposed by the Western District of

 5   Oklahoma.

 6        Mr. Harned has a waiver of personal appearance on file and

 7   has continued to reside in Oklahoma throughout the duration of

 8   his pre-trial release.     A change of plea hearing is set for March

 9   24, 2017, at which Mr. Harned’s presence is required.

10        Application

11        Application is hereby made for an Order for Transportation

12   and subsistence allowance for defendant Donald Loyde Harned to

13   travel to California to attend the change of plea hearing and to

14   return to Oklahoma at the conclusion of the proceedings as

15   allowed under 18 U.S.C. § 4285.

16        Mr. Harned has advised counsel that he is without sufficient

17   funds to travel to and from Sacramento, California for the change

18   of plea hearing. Therefore, counsel is requesting that Mr. Harned

19   be allowed to fly in to Sacramento on March 23, 2017 to meet with

20   counsel and discuss his change of plea before his scheduled
21   appearance the following morning and to return to Oklahoma March
22   24, 2017 following the hearing or as soon thereafter as possible.

23   Dated: February 27, 2017                /s/ William E. Bonham
                                             WILLIAM E. BONHAM
24                                           Counsel for defendant
25                                           Donald Loyde Harned

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 1                                     ORDER

 2           To: UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:

 3           This is to authorize and direct you to furnish defendant

 4   Donald Loyde Harned with transportation and subsistence from the

 5   Del City, Oklahoma area to Sacramento, California on March 23,

 6   2017 and from Sacramento, California to Oklahoma on March 24,

 7   2017.

 8           Mr. Harned is indigent and financially unable to pay his

 9   travel expenses to and from Sacramento, California. This request

10   is authorized pursuant to 18 U.S.C. § 4285.

11           IT IS SO ORDERED.

12   Dated:     March 7, 2017

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